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UNITED STATES DISTRICT COURT                                                               1/11/21
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
Peter Chiykowski,                                                      :
                                                                       :
                                    Plaintiff,                         :   19-cv-2272 (AJN)
                                                                       :   19-cv-5491 (AJN)
                  -v-                                                  :
                                                                       :       ORDER
Marc Goldner, et al.,                                                  :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- :
                                                                       X

---------------------------------------------------------------------- X
                                                                       :
Alexander Norris,                                                      :
                                                                       :
                                    Plaintiff,                         :
                                                                       :
                  -v-                                                  :
                                                                       :
Marc Goldner, et al.,                                                  :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- :
                                                                       X

ALISON J. NATHAN, United States District Judge:

        A post-discovery conference in the above-captioned related cases is currently scheduled
for January 22, 2021. In light of the COVID-19 public health crisis, the Court will not hold the
upcoming conference in person. Counsel should submit a joint status letter on ECF no later than
seven days prior to the scheduled conference. The joint letter shall:

        1) Include a statement confirming that all fact discovery has been completed (the parties
           should not assume that the Court will grant any extensions);
        2) Include a statement regarding the status of any settlement discussions and whether the
           parties would like a referral to the Magistrate Judge or the Court-annexed Mediation
           Program for settlement discussions;
        3) Include a statement regarding whether any party intends to move for summary
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          judgment on or before the deadline specified in the CMP;
       4) If no party intends to move for summary judgment, propose (a) a deadline for the
          submission of a joint final pre-trial order pursuant to Rule 5.A of the undersigned’s
          Individual Practices in Civil Cases, and (b) potential trial dates; and
       5) Indicate whether they can do without a conference altogether.

        If the parties indicate that they can do without a conference, the conference will be
cancelled. If a conference is held, it will be by telephone. The conference may be accessed by
dialing (888) 363-4749 and entering access code 9196964. In either case, counsel should review
and comply with the Court’s Emergency Individual Rules and Practices in Light of COVID-19,
available at https://www.nysd.uscourts.gov/hon-alison-j-nathan.

       SO ORDERED.

Dated: January 11, 2021                             __________________________________
       New York, New York                                    ALISON J. NATHAN
                                                           United States District Judge




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